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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 APRIL NITKIN,                                             CIVIL ACTION
      Plaintiff,
      v.
 MAIN LINE HEALTH d/b/a BRYN MAWR                          NO. 20-4825-KSM
 HOSPITAL,
      Defendant.




                              AMENDED CIVIL JUDGMENT

       AND NOW, this 7th day of July 2022, after resolving all post-trial motions, and consistent

with the jury verdict (Doc. No. 60), it is ORDERED that an AMENDED JUDGMENT be entered

in favor of Plaintiff, April Nitkin, and against Defendant, Main Line Health, d/b/a Bryn Mawr

Hospital, in the amount of $318,415.70, consisting of $20,000 in back pay damages (Doc. No. 60

question 5), $1.00 in compensatory damages (id. question 7), $120,000 in punitive damages (id.

question 9), $172,574.55 in attorneys’ fees and $5,840.15 in unopposed costs.




                                                           /s/ Karen Spencer Marston
                                                           KAREN SPENCER MARSTON, J.
